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DAVID L. ANDERSON (CABN 149604)
United States Attorney & 7

 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION .
UNITED STATES OF AMERICA, CABO 0 0 0 4 9 BLF
Plaintiff, ) VIOLATIONS:
) 18 U.S.C. §§ 2252(a)(4)(B) —
v. Possession of Child Pornography; VK D

JAMES GOULD, JR. ) 18 U.S.C. § 2253(a) — Criminal Forfeiture

)

Defendant ) SAN JOSE VENUE

)

)

)

INFORMATION

The United States Attorney charges:
COUNT ONE: (18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) — Possession of Child Pornography)

On or about June 26, 2019, in the Northern District of California, the defendant,
JAMES GOULD, JR.,
after having sustained a prior conviction under 18 U.S.C § 2252(a), did knowingly possess matter which
contained at least one visual depiction that had been shipped and transported using a means and facility
of interstate and foreign commerce, the production of which visual depiction involved the use of a minor

engaging in sexually explicit conduct, which visual depiction was of such conduct, all in violation of

Title 18, United States Code, Sections 2252(a)(4)(B) and (b)(2).

INFORMATION

 
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FORFEITURE ALLEGATION: (18 U.S.C. § 2253(a))
The allegations contained in this Information are re-alleged and incorporated by reference for the
purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 2253.
Pursuant to Title 18, United States Code, Section 2253, upon conviction of the offense set forth
in this Information, the defendant,
JAMES GOULD, JR.,
shall forfeit to the United States of America:

a. any visual depiction described in Title 18, United States Code, Sections 2251 or
2251A, or 2252, or any book, magazine, periodical, film, videotape, or other matter
which contains any such visual depiction, which was produced, transported, mailed,
shipped or received in violation of Title 18, United States Code, Chapter 110;

b. any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from the offense; and

c, any property, real or personal, used or intended to be used to commit or to promote
the commission of the offense.

The property to be forfeited includes, but is not limited to:

a. Verizon Samsung Cell (Probation #18632)!

b. SanDisk 32GB USB (Probation # 18633)

c. Shield Tablet seized from dresser at Gould’s home (Probation # 18634)

d. Red Samsung Verizon Phone (Probation # 18637)

e. Lenovo Think Pad Black (Probation # 18640)

f. Shield Tablet seized from television stand at Gould’s home (Probation # 18641)

g. Silver Cell Phone Virgin Mobile (Probation # 18642)

h. Silver Kyocera Metro Cell (Probation # 18645)

i. Nokia Cell AT&T (Probation # 18646)

j. Kyocera Cell Metro PCS (Probation # 18647)

 

 

 

! “Probation # 18632” refers to the evidence number that the Probation Office assigned to the
item when it was seized from defendant James Gould, Jr.’s home.

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AT&T Slider LG Cell (Probation # 18648)
LG Metro PCS 4G Cell (Probation # 18649)
Seagate HD (Probation # 18650)

Nvidia Tegra 3 Tablet (Probation # 18651)
Fujitusu Hard Drive (Probation # 18654)
Lexus 8 GB USB Drive (Probation # 18657)
Hitachi HDD (Probation # 18658)

IBM Deskstar Apple (Probation # 18659).

If any of the property described above, as a result of any act or omission of the defendant:

a.

b.

cannot be located upon exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided without

difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section 2253(b)

and Title 28, United States Code, Section 2461(c).

All pursuant to Title 18, United States Code, Section 2253, Title 28, United States Code, Section

2461(c), and Federal Rule of Criminal Procedure 32.2.

DATED: January 30, 2020 DAVID L. ANDERSON

INFORMATION

United States Attorney Ob olot-

CHINHA YI COLEMAN CADET
Assistant United States Attorney

 

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AO 257 (Rev. 6/78)

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

By: L] COMPLAINT INFORMATION [_] INDICTMENT
_] sUPERSEDING

 

—— OFFENSE CHARGED
VIOLATIONS: [_] Petty
18 U.S.C. § 2252(a)(4)(B) — Possession of Child Pornography .
LE] Minor
Misde-
LJ meanor
Felony

PENALTY: Maximum 20 years of imprisonment
Minimum 10 years of imprisonment
$250,000 maximum fine
Minimum 5 years and maximum lifetime of supervised release
$100 mandatory special assessment

Name of District Court, and/or Judge/Magistrate Location

NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

 

 

— DEFENDANT - U.S A

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DEFENDANT

   

 

PROCEEDING

Name of Complaintant Agency, or Person (& Title, if any)

 

FBI - Special Agent Colleen Dettling

person is awaiting trial in another Federal or State Court,
x give name of court i

NDCA Case Number CR 12-00464 EJD

this person/proceeding is transferred from another district
O per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
charges previously dismissed

L which were dismissed on motion SHOW

of DOCKET NO.
[| U.S. ATTORNEY | DEFENSE \

this prosecution relates to a
pending case involving this same

defendant MAGISTRATE

\ CASE NO.

David L. Anderson

prior proceedings or appearance(s)
[_] before U.S. Magistrate regarding this
defendant were recorded under

 

 

 

Name and Office of Person
Furnishing Information on this form

[x] U.S. Attorney [-] Other U.S. Agency

 

Name of Assistant U.S.

Attorney (if assigned) AUSA Chinhayi Cadet

 

 

PROCESS:
[-] Summons NO PROCESS* [_] WARRANT

If Summons, complete following:
[] Arraignment [_] Initial Appearance

Defendant Address:

Date/Time:

 

Comments:

 

Y
IS NOTIN CUSTODY ¥
Has not been arrested, pending outcome this proceeding.
1) [] If not detained give date any prior
summons was served on above charges >

2) [_] |s a Fugitive

3) [J Is on Bail or Release from (show District)

 

IS INCUSTODY
4) [-] On this charge

5) On another conviction

} Federal [| State

6) [-] Awaiting trial on other charges
If answer to (6) is "Yes", show name of institution

 

‘ Yes If "Yes"
Has detainer L] } give date

been filed? Ol No filed
DATE OF D> Month/Day/Year
ARREST

 

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

 

 

ADDITIONAL INFORMATION OR COMMENTS

 

 

[_] This report amends AO 257 previously submitted

 

Bail Amount:

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

 
